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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION


  SECURITIES AND EXCHANGE
  COMMISSION,

                        Plaintiff,

              v.                         Case No. 6:23-cv-01539-PGB-RMN

  ASHRAF MUFAREH,
  ONPASSIVE LLC, and
  ASMAHAN MUFAREH,

                        Defendants.


     DECLARATION OF WILLIAM O. RECKLER IN SUPPORT OF
   DEFENDANTS’ MOTION TO DISMISS THE AMENDED COMPLAINT

        I, William O. Reckler, declare and state as follows:

        1.    I am an attorney at the law firm of Latham & Watkins LLP

  (“Latham”), counsel of record for Defendants Ashraf Mufareh, OnPassive LLC,

  and Asmahan Mufareh.        I   was admitted pro hac vice to this Court on

  August 29, 2023 (ECF Nos. 9, 14).

        2.    I respectfully submit this declaration in support of Defendants’

  motion to dismiss the Securities and Exchange Commission’s Amended

  Complaint (ECF No. 26). I have personal knowledge of the facts set forth in

  this declaration.




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        3.    Attached hereto as Exhibit 1 is a true and correct copy of an email

  exchange dated February 23, 2020, subject line “Re: Hi Ash…is this a good

  post?” and bearing Bates stamps OP0315496 through OP0315502. Exhibit 1

  was produced to the SEC staff in pre-suit discovery and it is incorporated by

  reference into the Amended Complaint at Paragraph 63.

        4.    Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury

  that the foregoing is true and correct.



  Executed on November 20, 2023 in New York, New York.



                                       /s/ William O. Reckler
                                       William O. Reckler (pro hac vice)
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